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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                   -v.-                             18 Cr. 328 (KPF)

ANILESH AHUJA and JEREMY SHOR,                          ORDER

                          Defendants.

KATHERINE POLK FAILLA, District Judge:

      The Court is in receipt of the sworn declarations of Joshua Naftalis,

Andrea Griswold, and Max Nicholas (Dkt. #428-430), and is now ready to

proceed to briefing on Defendants Ahuja and Shor’s anticipated motions. The

parties are directed to confer and submit to the Court a proposed briefing

schedule on or before February 18, 2021.

      SO ORDERED.

Dated: February 16, 2021
       New York, New York

                                             KATHERINE POLK FAILLA
                                            United States District Judge
